                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK




IN RE APPLICATION OF BENJAMIN STEINMETZ
FOR AN ORDER TO TAKE DISCOVERY FROM
                                             Case No. ____________
VALE S.A., VALE AMERICAS INC., RIO TINTO
PLC, AND RIO TINTO LIMITED PURSUANT TO
28 U.S.C. § 1782




             MEMORANDUM OF LAW IN SUPPORT OF THE
        APPLICATION OF BENJAMIN STEINMETZ FOR AN ORDER
      TO TAKE DISCOVERY FROM VALE S.A., VALE AMERICAS INC.,
  RIO TINTO PLC, AND RIO TINTO LIMITED PURSUANT TO 28 U.S.C. § 1782




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        Benjamin (Beny) Steinmetz (“Mr. Steinmetz” or the “Applicant”) respectfully seeks an

Order pursuant to 28 U.S.C. § 1782 authorizing him to take discovery from (i) Vale S.A. (“Vale”);

(ii) Vale Americas Inc. (“Vale Americas”); (iii) Rio Tinto plc; and (iv) Rio Tinto Limited (together,

“Rio Tinto”) (collectively, the “Discovery Targets”) all of which are residents of or otherwise found in the

Southern District of New York, for use in proceedings pending in the United Kingdom (specifically, the

High Court of Justice in the London, in England & Wales) between Vale S.A., Vale Holdings B.V. (“Vale

Holdings”), and Vale International S.A. (“Vale International”) (collectively, the “Claimants”) and Mr.

Steinmetz, Dag Lars Cramer, Marcus Struik, Asher Avidan, Joseph Tchelet, David Clark, the Balda

Foundation (“Balda”), and Nysco Management Corporation (“Nysco”) (collectively, the “Defendants”)

(the “UK Proceedings”). Copies of the subpoenas that Mr. Steinmetz seeks to serve on the Discovery

Targets are filed as Exhibits 2-5 to the supporting declaration of Josef M. Klazen.

                                      PRELIMINARY STATEMENT

        This Application relates to a dispute arising out of an April 30, 2010, Joint Venture Agreement

between BSG Resources Limited (“BSGR”), a company to whom Mr. Steinmetz was an adviser, and

Vale S.A. (one of the largest mining companies in the world), through which Vale acquired a 51% stake

in a venture that held mining rights in the Simandou Mountain range in Guinea (the “mining rights”) in

exchange for US $2.5 billion to be paid over time (the “JV Agreement”). This JV Agreement is the subject

of a global, scorched-earth litigation campaign instituted by Vale against BSGR, Mr. Steinmetz, and

numerous other parties. In essence, the government of Guinea at one point claimed that the mining rights

had been acquired through corruption and Vale asserted that BSGR had fraudulently induced it to enter

into the JV Agreement. The government of Guinea recently withdrew the accusations, but Vale had

already given up its commercial rights by that point, and has since pursued Mr. Steinmetz and others to

try to recover the losses it says it suffered.
        Every component of Vale’s campaign is premised on the allegation that Mr. Steinmetz and others

fraudulently induced it to enter into the JV Agreement by misrepresenting that the mining rights were not

acquired by corruption. The most recent chapter of Vale’s worldwide attack is the UK Proceedings in

which Vale claims to be the victim of a supposed fraud perpetrated by Mr. Steinmetz and other

entities/individuals. According to Vale, the defendants in the UK Proceedings fraudulently induced Vale

to enter into a multi-billion dollar JV Agreement by making misrepresentations about the lawfulness of

how the mining rights had been procured, without which Vale supposedly would not have entered into

the JV Agreement.

        Mr. Steinmetz has recently learned of new evidence that undermines the narrative perpetuated by

Vale and necessitates discovery. That evidence contradicts the basis of Vale’s claim in the UK

Proceedings and its global litigation campaign. Specifically, the evidence shows that (i) Vale already

believed (albeit incorrectly) that BSGR had procured the mining rights through fraud, bribery, or other

corrupt acts prior to Vale’s decision to enter the JV Agreement, see Decl. of Dr. Avi Yanus (“Yanus

Decl.”) at ¶¶ 40–45; (ii) Vale nonetheless decided to enter the JV Agreement, in spite of recommendations

to the contrary by trusted advisers, see id. at ¶¶ 44, 55–71; and (iii) Vale’s decision to withdraw from the

JV Agreement was not the result of (and in fact pre-dated) the government of Guinea’s allegations of

misconduct relating to BSGR’s procurement of the mining rights and the subsequent revocation of said

rights , see id. at ¶¶ 90–94. Vale’s claims in the UK Proceedings are unsustainable in light of this evidence.

        Mr. Steinmetz recently filed his Defence in the UK Proceedings (akin to an “answer” in U.S.

litigation), in which he denied Vale’s allegations and asserted, among other defenses, that Vale’s claims

should be dismissed under the English illegality defense (ex turpi causa non oritur actio).1 See Decl. of


1
  The illegality defense in England is similar to the “unclean hands” defense in the U.S. and is
predicated on the principle that a plaintiff should not be allowed to profit from his own
wrongdoing. The UK Court will consider a number of factors, including whether allowing a claim


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Joseph M. Klazen (“Klazen Decl.”), Ex. 7 (Defence of the First Defendant). To further support his

defenses, Mr. Steinmetz now seeks discovery from persons and entities found in this District who are

believed to have information relevant to the UK Proceedings. Additionally, discovery of these documents

is needed because of Vale’s aggressive document destruction policy, discussed infra, which risks the

destruction of this additional supporting evidence, which is expected to be contained in board minutes,

internal correspondence, and documents regarding the JV Agreement.

        In particular, the proposed discovery targets are: (i) Vale S.A., a party to the JV Agreement at

issue in the UK Proceedings, which is expected to have documents reflecting its knowledge of

BSGR’s mining rights, its motives for entering the JV Agreement, its risk assessment of the JV

Agreement, its reasons for withdrawing from the JV Agreement, its document destruction policy,

the timing of the destruction of documents from key custodians, information that formed the basis

of its disclosures made to the U.S. Securities and Exchange Commission (“SEC”) and other

authorized bodies concerning its state of knowledge about the JV Agreement, and other pertinent

issues related to the UK Proceedings; (ii) Vale Americas Inc., the authorized representative of Vale

in the United States, which is expected to have information relating to the same topics as Vale;

(iii) Rio Tinto plc, the former exclusive owner of the mining rights at issue, which filed a U.S.

lawsuit (which was later dismissed) against Mr. Steinmetz, BSGR, and Vale, alleging that they conspired

to steal the mining rights from Rio Tinto (No. 1:14-CV-03042 (RMB)), and is, accordingly, expected

to have information about the mining rights and the JV Agreements; and (iv) Rio Tinto Limited,

which, according to recently acquired evidence, informed Vale about the allegations that BSGR

procured the mining rights by fraud prior to Vale’s decision to enter into the JV Agreement.




tainted by illegality would be contrary to the public interest and harmful to the integrity of the legal
system.
                                                   3
         As explained below, granting Mr. Steinmetz’s requested discovery is proper and

appropriate. First, Mr. Steinmetz’s Application satisfies each of the statutory requirements under

28 U.S.C. § 1782 (“Section 1782”), because the Discovery Targets are “found” in this District; the

discovery is sought “for use” in foreign proceedings; and Mr. Steinmetz is an “interested person.”

Second, the relevant discretionary factors identified in Intel Corp. v. Advanced Micro Devices,

Inc., 542 U.S. 241 (2004), strongly support granting Mr. Steinmetz’s Application.

                                            BACKGROUND

    I.   THE RELEVANT PARTIES

            A. The Respondent Vale Entities

         Vale S.A., one of the largest mining companies in the world, is a party to the JV Agreement at

issue in the UK Proceedings. For many years, in its numerous lawsuits over the JV Agreement, Vale has

portrayed itself as an unsuspecting victim of fraud and a company that would never commit unlawful

conduct itself. The reality, however, is that Vale is a sophisticated mining behemoth that has been widely

accused of being willing to engage in crimes to further its operations. Indeed, Vale has recently come

under intense criminal and civil scrutiny (including lawsuits in the U.S.). Notably, over the past four years,

two of Vale’s dams, the Brumadinho dam and the Fundão mining dam, have collapsed, killing

hundreds of people and devastating entire communities.2 With respect to the latest dam collapse, Vale

has been accused of fabricating fraudulent technical safety reports to hide red flags regarding the safety

of the Brumadinho dam. Marta Nogueira, Brazil police accuse Vale and TÜV SÜD of fraud before

dam burst: document, REUTERS (Sept. 20, 2019), https://www.reuters.com/article/us-vale-sa-



2
  In January 2019, Vale’s Brumadinho dam collapsed, killing over 250 people and devastating
entire towns in Brazil, prompting an investigation into Vale employees, and resulting in homicide
charges against one of its executives. Three years prior, another of Vale’s dams, the Fundão
mining dam in Minas Gerais, collapsed, killing nineteen people, prompting an investigation in
Brazil and litigation in the United States.
                                                      4
disaster/brazil-police-accuse-vale-and-tv-sd-of-fraud-before-dam-burst-document-

idUSKBN1W51EW (“Federal police accused the companies of working with falsified documents

attesting the stability of the dam in Brumadinho.”). Vale’s executives, including its former Chief

Executive Officer, have recently been charged with homicide. Luciana Magalhaes and Samantha

Pearson, Brazil Prosecutors Charge Ex-Vale CEO Fabio Schvartsman with Homicide for Dam

Collapse, THE WALL ST. J. (Jan. 21, 2020), https://www.wsj.com/articles/brazil-prosecutors-file-

charges-against-vale-tuv-sud-for-deadly-dam-collapse-11579622098.

        Vale Americas is a wholly-owned subsidiary of Vale S.A., incorporated in the State of

Delaware and registered to do business in New York. See Klazen Decl., Ex. 13 (New York

Department of State Entity Information for Vale Americas). Vale Americas is noted as the

“Authorized Representative of Vale S.A. in the United States” on Vale’s SEC filings. Klazen

Decl., Ex. 11 (Vale S.A.’s Form S-8), at 6. Vale Americas is not a party to the UK Proceedings.

See Klazen Decl., Ex. 6 (Particulars of Claim). By virtue of its position as the U.S. representative

of a foreign corporation listed on the New York Stock Exchange, Vale Americas is expected to

have information about matters which Vale S.A. has filed or has considered filing with the SEC,

including any information in connection with the JV Agreement. This likely includes information

showing what Vale believed in relation to BSGR’s procurement of the mining rights and how Vale

chose to frame its legally required disclosures in the United States.

            B. BSGR: Vale’s Contractual Counterpart

        BSGR, a Guernsey-based international mining and natural resources company, through its

subsidiary, held iron ore exploitation rights in the Simandou regions in Guinea. Klazen Decl., Ex. 6

(Particulars of Claim), ¶ 2. BSGR is the other party to the JV Agreement. Id. at ¶ 1.




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           C. Mr. Steinmetz: The Applicant

       Mr. Steinmetz was a paid adviser to BSGR. Contrary to Vale’s allegations in the UK Proceedings,

however, Mr. Steinmetz did not control BSGR. See Defence of First Defendant at ¶¶ 4, 49.1(ii). While

BSGR is not a party to the UK Proceedings, Mr. Steinmetz is one of eight defendants therein. 3 See

Klazen Decl., Ex. 6 (Particulars of Claim).

           D. The Respondent Rio Tinto Entities

       Rio Tinto plc is a leading global mining group, which formerly had exclusive mining rights to the

Simandou region, the underlying asset of the JV Agreement between Vale S.A. and BSGR. The Guinean

government revoked half of Rio Tinto plc’s mining rights in 2008 and thereafter awarded those

exploration rights to BSGR. Klazen Decl., Ex. 6 (Particulars of Claim), at ¶¶ 37.1–37.9, 49.2. There

is evidence that during Vale’s negotiations with BSGR over the JV Agreement, Rio Tinto Limited claimed

to Vale that its investigation found that BSGR improperly procured the mining rights. Yanus Decl. at ¶¶

46–49. Further, in August 2014, Rio Tinto plc filed an action under the Racketeer Influenced and Corrupt

Organizations Act (“RICO”) in the U.S. District Court for the Southern District of New York against Mr.

Steinmetz, BSGR, and Vale S.A. (No. 1:14-CV-03042 (RMB)), alleging that Vale conspired with Mr.

Steinmetz and BSGR to fraudulently steal Rio Tinto plc’s mining rights (the “Rio Tinto RICO Action”).

This lawsuit was dismissed as time-barred. Importantly, on November 9, 2016, Rio Tinto plc

announced in its SEC filings that it had become aware of communications dated from 2011

regarding suspicious payments in the millions made to a consultant of the company’s Simandou


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  The other seven defendants are: (i) Dag Lars Cramer (at relevant times, non-executive director
of BSGR); (ii) Marcus Struik (at relevant times, CEO of BSGR’s Mining & Metals Division); (iii)
Asher Avidan (at relevant times, Director of Operations in Guinea for BSGR and affiliated
entities); (iv) Joseph Tchelet (at relevant times, an accountant and finance manager for BSGR and
affiliated entities); (v) David Clark (at relevant times, director of BSGR); (vi) Balda Foundation
(a Liechtenstein foundation of which the Applicant is one of the discretionary beneficiaries); and
(vii) Nysco Management Corporation (a BVI company that wholly-owns BSGR and is wholly-
owned by the Balda Foundation).
                                                   6
project in Guinea. A week later, on November 15, 2016, Rio Tinto plc announced the termination

of two of its executives. Following those disclosures, Rio Tinto plc was sued in this District on

December 16, 2016, as part of a securities class action arising out of the same situation. See

Amended Compl., Jeffrey P. Weiner Supplemental Trust v. Rio Tinto PLC et al, No. 1:16-CV-09572

(ALC) (S.D.N.Y. May 30, 2017). In light of its likely investigations into Vale and BSGR, Rio Tinto

plc and Rio Tinto Limited likely have information pertaining to Vale’s knowledge of any issues with the

procurement of the mining rights, Vale’s own wrongdoing with respect to the JV Agreement and/or

mining rights, and other information pertinent to the UK Proceedings and Mr. Steinmetz’s defenses.

 II.    THE JV AGREEMENT BETWEEN VALE AND BSGR

        On April 30, 2010, Vale S.A. entered into the JV Agreement to secure the lucrative mining rights

at Simandou. Klazen Decl., Ex. 6 (Particulars of Claim), at ¶ 1. Vale S.A. is a major (as of February 2020

the second – only to Rio Tinto – largest) iron ore producer. See, e.g., id. at ¶ 12. Vale viewed the JV

Agreement as an opportunity to control the largest undeveloped deposit of high-grade iron ore in the

world. Yanus Decl. at ¶ 38. Vale considered the JV Agreement an extremely valuable, strategic, and

necessary tool in maintaining its market share and its dominant position. Id. at ¶ 39. Vale also saw the

JV Agreement as critical to preventing major Chinese mining companies, which account for 60%–

70% of the global seaborne iron ore market, from acquiring the rights themselves. See Klazen Decl.,

Ex. 7 (Defence of the First Defendant), at ¶ 195; Yanus Decl. at ¶ 53.

        As discussed infra, Vale entered into the JV Agreement despite its firm belief at Board level that

BSGR procured the mining rights through corruption and bribery. Id. at ¶¶ 55–71. In fact, Vale was

advised by its internal team and independent advisors not to enter the agreement, but ignored the

recommendations, managing to acquire Board approval of the pursuit of this key geostrategic mining

asset at all costs. See id. at ¶¶ 44, 53, 62, 102. Through the JV Agreement, Vale obtained 51% of BSGR’s

interest in the entity that held the mining rights in exchange for US $2.5 billion, including an initial
                                                    7
payment of US $500 million and future investment payments. Klazen Decl., Ex. 6 (Particulars of Claim),

at ¶¶ 2–4.

III.    THE TERMINATION OF THE MINING RIGHTS

        Thereafter, in 2011, following a change in administration and for what appear to be political

reasons, the Guinean government began a purported investigation into the methods used by BSGR in

procuring the mining rights. In April 2014, the Guinean Government withdrew BSGR’s license citing

allegations that the mining rights were procured through bribery and corruption. Id. at ¶ 104. BSGR

filed for arbitration against the Government of Guinea, challenging the findings and the withdrawal of the

mining rights. Ultimately, the parties entered into non-binding settlement terms and the Guinean

Government waived all claims and allegations against BSGR subject to conditions that the parties to the

settlement are engaged in fulfilling. See Klazen Decl., Ex. 7 (Defence of the First Defendant), at ¶ 146.4.

Moreover, in a recent Guinean court decision, prosecutors withdrew criminal charges against a few

individuals, including Mamadie Touré and Mahmoud Thiam – the very individuals whom Vale alleges

BSGR bribed. See id. at ¶ 24.

IV.     PROCEDURAL BACKGROUND

        The subsequent abandonment by the Guinean Government of its corruption accusations came too

late for Vale. Following the withdrawal of BSGR’s mining rights, Vale began pursuing a massive

worldwide litigation campaign in an effort to recoup some of its investment in the JV Agreement. This

campaign includes a London arbitration proceeding in which Vale obtained an award against BSGR and

claimed to the Tribunal that it was an innocent fraud victim (the “LCIA Arbitration”).

        In the Rio Tinto RICO Action, Vale disclosed that it had destroyed the emails of its key executives,

citing a curious and apparently unwritten document destruction policy which calls for the aggressive

destruction of documents after key executives leave or are dismissed by the company. See Klazen Decl.,

Ex. 7 (Defence of the First Defendant), at ¶¶ 2, 198. Vale purports to have relied on such policy to

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delete communications and materials from relevant parties, despite knowing that this litigation would

take place and understanding that government investigations of these communications were inevitable.

Mr. Steinmetz believes that these voluntarily and methodologically destroyed emails would have shown

the truth of Vale’s intentions and state of mind as portrayed by the evidence that has recently come to light,

underscoring the importance and urgency of the discovery requested herein.

        Vale bases its entire ongoing litigation campaign on the result of the arbitral proceedings.

However, BSGR and its counsel were not present at the LCIA Arbitration hearing because of significant

procedural irregularities. For instance, the Arbitral Tribunal declined to reschedule the hearing despite

BSGR’s counsel having advised four months prior that he was unavailable on the scheduled dates. In

addition, the Division of the LCIA Court ultimately removed the Tribunal’s Chairman because it found

“justifiable doubts as to his independence or impartiality” to BSGR’s detriment. See Decl. of Jonathan I.

Blackman, Ex. A (Final Arbitration Award, entered on April 4, 2019), at ¶ 82, Vale S.A. v. BSG

Resources Limited, No. 1:19-CV-03619 (VSB) (S.D.N.Y. Apr. 24, 2019). Although the arbitral

award is not of concern in the instant proceedings, we note the above lest Vale seek to trumpet its

significance. Indeed, the new evidence detailed infra is likely to form a basis for BSGR to overturn the

arbitral award.

        The Arbitral Tribunal handed down its award against BSGR in April 2019, following which Vale

instituted award-enforcement proceedings in London (Claim No. CL-2019-00269) and the U.S. District

Court for the Southern District of New York (No. 1:19-CV-03619 (VSB)). Most recently, Vale filed the

UK Proceedings, in which it asserts essentially the same fraud claims as in the LCIA Arbitration, but

against other parties, including Mr. Steinmetz.




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 V.     THE CENTRAL TENETS OF VALE’S CASE IN THE UK PROCEEDINGS ARE
        FATALLY UNDERMINED

        Throughout its filings, Vale portrays itself as an innocent victim of fraud at the hands of others

when, in fact, new and credible evidence shows that the opposite is true: Vale always believed that there

were corruption risks associated with entering into the JV Agreement – namely, that there were issues

surrounding BSGR’s procurement of the mining rights – and intentionally “turned a blind eye,” because

the mining rights were so imperative to Vale strategically. Yanus Decl. ¶¶ 40–45. Indeed, Vale was

convinced at the Board level (albeit incorrectly) that BSGR had procured the mining rights by fraud. Id.

at ¶¶ 55–71.

        In the UK Proceedings, filed on December 3, 2019, Vale alleges that the defendants, which

include Mr. Steinmetz and various entities and individuals, made fraudulent misrepresentations regarding

the validity of the procurement of the mining rights and entered into a conspiracy to fraudulently induce

Vale to enter the JV Agreement with BSGR based on these false misrepresentations. Klazen Decl., Ex.

6, (Particulars of Claim), ¶¶ 5, 8, 10. According to Vale, all of the defendants financially benefited from

the fraudulent misrepresentations. Id. at ¶ 10. Vale asserts (i) claims in deceit based on the alleged

fraudulent misrepresentations to induce Vale to enter the JV Agreement, id. at ¶¶ 105-16 (inclusive of sub-

parts); (ii) a claim in conspiracy regarding the alleged coordinated efforts to misrepresent Vale, id. at ¶ 117

(inclusive of sub-parts); and (iii) a proprietary claim seeking the traceable proceeds from the US $500

million Vale paid to BSGR pursuant to the JV Agreement, id. at ¶¶ 118-20 (inclusive of sub-parts). Vale

seeks over US $1.25 billion, plus interest, in the UK Proceedings. Id. at ¶ 124.

        Mr. Steinmetz recently filed his Defence in the UK Proceedings, denying all allegations of

corruption, bribery, and fraudulent misrepresentations related thereto, and arguing, inter alia, that in

addition to there being no underlying dishonest procurement of the mining rights, (i) Vale did not in any

event rely on any of BSGR’s representations to enter the JV Agreement; rather, Vale engaged in a “due


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diligence exercise designed to create a false impression that Vale had met its regulatory and legal

obligations but without Vale at any point caring whether the representations made were true”; (ii) Vale

believed that the mining rights were procured improperly and “was willfully blind as to the suspicions

which it had, and proceeded with the transaction regardless,” in violation of U.S. law; and (iii) the claims

are barred by the relevant statute of limitations. Klazen Decl., Ex. 7 (Defence of the First Defendant), at

¶¶ 2–3.

          Further, on May 18, 2020, two of the defendants in the UK Proceedings, Balda and Nysco, filed

a motion for summary judgment as to the proprietary claim asserted in the UK Proceedings. Balda and

Nysco seek to strike out the proprietary claim, through which Vale seeks the traceable proceeds of its

payments to BSGR and the defendants, based on legal arguments under UK law. See Klazen Decl., Ex.

8 (Application Notice for Summary Judgment); Klazen Decl., Ex. 9 (First Witness Statement of Doron

Levy). That motion for summary judgment relates only to the proprietary claim and does not involve the

deceit or conspiracy claims, which are subject to the defenses described above.

VI.       EVIDENCE OF VALE’S BAD ACTS

          Mr. Steinmetz’s assertion of an illegality defense in the UK Proceedings is supported by recent

discovery of bad acts committed by Vale in connection with the JV Agreement. Through a private

investigation commissioned and supervised by Mr. Steinmetz personally and conducted over the last

several months, wherein investigators spoke to Vale employees with personal knowledge of the relevant

events, Mr. Steinmetz has discovered facts that destroy Vale’s central positions in the UK Proceedings—

as well as in related litigation and its media campaign—and support Mr. Steinmetz’s defenses. 4 What

has emerged from the new evidence is that Vale has cultivated a corporate culture which embraces


4
 The specific details of the investigation and the findings therefrom are set forth in the Declaration
of Dr. Avi Yanus, director of B.C. Strategy UK Ltd., which conducted a private investigation on
behalf of Mr. Steinmetz into the events in dispute in the UK Proceedings. Dr. Yanus has personal
knowledge of the investigation and the related investigative findings. Yanus Decl. at ¶ 4.
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unscrupulousness and board malfeasance, and that Vale’s constructed image of innocence is a

façade. These new facts include, among others, the following:

   •   Mr. Jose Carlos Martins (“Martins”), a former Vale Executive Director, head of Vale’s Iron Ore
       division, and a central figure in facilitating and orchestrating the execution of the JV Agreement,
       volunteered that Vale was desperate to obtain the mining rights at Simandou, no matter the
       risks, see Yanus Decl. at ¶¶ 38-39. Martins further offered that Vale believed, and indeed
       was told by other mining corporations (albeit incorrectly), that something was wrong with
       the way BSGR had obtained the mining rights in Simandou prior to entering into the JV
       Agreement, see id. at ¶¶ 40-50, but Vale’s Board knowingly and willingly opted into the
       deal, nonetheless, see id. at ¶¶ 55-71.

   •   Martins also stated that, during the negotiations with BSGR, Rio Tinto Limited notified
       Vale that it hired a private intelligence company to look into BSGR’s procurement of the
       mining rights, which supposedly found that the mining rights were procured improperly.
       Id. at ¶¶ 46-50. Martins further disclosed that the information Rio Tinto provided was
       presented to Vale’s Board of directors who, despite this evidence, still knowingly decided
       to enter the JV Agreement. Id.

   •   Relatedly, Martins explained that Vale’s Board wanted to enter the JV Agreement, no
       matter the risks. For example, he said he believed something was wrong with the way
       BSGR procured the mining rights and, in fact, told Vale’s Board that “we are entering this
       business, but we are closing our eyes” to the potential issues, which the Board accepted
       because the deal “[w]as important for the company.” Id. at ¶ 42-43. He reiterated this
       sentiment on multiple occasions, another time stating that “Everybody knows that there
       was something wrong” with the mining rights, including the CEO, “[b]ut it was so
       important not to let this [mine] to get [in] the competition[’s] hands.” Id. at ¶ 57.
       Additionally, Martins volunteered that Vale intentionally kept these views out of their due
       diligence reports, and that Board members told him that they did not want to know about
       the potential issues. See id. at ¶ 64.

   •   Mr. Denis Thirouin, an independent consultant for Vale in Guinea who assisted Vale from
       2005 until at least 2010, confirmed that Vale had extensive knowledge regarding
       allegations concerning the procurement of the mining rights. Thirouin attests that it was in
       Vale’s best interest that nothing be found during the due diligence process so that the JV
       Agreement could proceed, see id. at ¶¶ 59-60.

   •   Martins further disclosed that Vale withdrew from JV Agreement for reasons separate and
       apart from BSGR’s loss of the mining rights, see id. at ¶¶ 84-94.

   •   Mr. Alex Monteiro (“Monteiro”), a former Director of Mergers and Acquisitions at Vale who was
       heavily involved in the due diligence process for the JV Agreement, similarly disclosed that
       Vale executed the JV Agreement despite its belief, although false, that BSGR had procured
       the mining rights improperly and in spite of internal advice not to enter the JV Agreement,
       see id. at ¶¶ 44. Specifically, he explained that “[a] lot of people” tried (unsuccessfully) to

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        convince the CEO not to enter the JV Agreement, because, although “[a]ll the diligence
        [Vale] did was fine,” there still existed “that smell of something that could have been done
        wrongly.” Indeed, Monteiro’s superior even resigned over the transaction. Id. at ¶¶ 44, 76.

    •   Both Monteiro and Martins volunteered that Vale did not, in fact, rely on BSGR’s
        representations regarding how it had obtained the mining rights, as Vale did not view
        BSGR as reliable. Id. at ¶¶ 72-78.

        This evidence plainly supports the defenses asserted by Mr. Steinmetz in the UK Proceedings,

including, inter alia, (i) to rebut Vale’s allegations that the deal was fraudulently misrepresented and that

Vale was fraudulently induced into the JV Agreement; and (ii) to seek dismissal of Vale’s claims under

the illegality defence because Vale entered into the JV Agreement while believing the underlying asset

was procured by fraud (i.e., the principle of ex turpi causa non oritur actio). Mr. Steinmetz presently

seeks discovery in this District to further support his defenses.

VII.    EVIDENCE SOUGHT IN SOUTHERN DISTRICT OF NEW YORK

        By this application, Mr. Steinmetz seeks evidence from Vale S.A., Vale Americas, Rio Tinto plc,

and Rio Tinto Limited, to further support his defences in the UK Proceedings. Vale S.A. is a party to the

JV Agreement and is expected to have documents regarding its decision to enter the JV Agreement, what

the Vale Board knew regarding the mining rights, its due diligence efforts, among other aspects of the JV

Agreement. Rio Tinto plc, which filed a lawsuit against Vale S.A., Mr. Steinmetz, and BSGR for

conspiracy to allegedly steal the mining rights from Rio Tinto plc, is expected to have information

regarding the mining rights and its investigation into BSGR’s procurement thereof. Similarly, Rio Tinto

Limited, which informed Vale S.A. that BSGR improperly procured the mining rights, see Yanus Decl.

at ¶¶ 46–50, is expected to have evidence related to that discussion with Vale, as well as evidence of what

it disclosed to Vale.




                                                     13
                                       LEGAL STANDARD

       Section 1782 authorizes District Courts to order persons located in the United States to

produce discovery for use in foreign legal proceedings. 28 U.S.C. § 1782(a). 5 “[T]he statute has,

over the years, been given increasingly broad applicability.” Brandi-Dohrn v. IKB Deutsche

Industriebank AG, 673 F.3d 76, 80 (2d Cir. 2012) (citations and quotations omitted). To obtain

discovery under Section 1782, an applicant must show that: (i) the person from whom discovery

is sought resides or is found within the District; (ii) the discovery is “for use” in a proceeding

before a foreign or international tribunal; and (iii) the applicant is an interested person under the

statute. 28 U.S.C. § 1782(a); see also Brandi-Dohrn, 673 F.3d at 80.

       Once the statutory requirements are met, courts consider four discretionary factors set

forth by the Supreme Court in Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241

(2004): (i) whether “the person from whom discovery is sought is a participant in the foreign

proceeding”; (ii) “the nature of the foreign tribunal, the character of the proceedings underway

abroad, and the receptivity of the foreign government or the court or agency abroad to U.S. federal-

court judicial assistance”; (iii) whether the application “conceals an attempt to circumvent foreign

proof-gathering restrictions or other policies”; and (iv) whether the discovery sought is “unduly

intrusive or burdensome[.]” 542 U.S. at 264-65. In considering these factors, courts exercise their

discretion liberally in favor of granting discovery. See Brandi-Dohrn, 673 F.3d at 80.




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  28 U.S.C. § 1782(a) provides, in relevant part: “The district court of the district in which a person
resides or is found may order him to give his testimony or statement or to produce a document or
other thing for use in a proceeding in a foreign or international tribunal. . . . The order may be made
. . . upon the application of any interested person and may direct that the testimony or statement be
given, or the document or other thing be produced, before a person appointed by the court.”

                                                  14
                                              ARGUMENT

         The Court should grant Mr. Steinmetz’s Application because (i) Mr. Steinmetz satisfies the

statutory prerequisites for relief under Section 1782; and (ii) the four discretionary factors heavily

favor granting Mr. Steinmetz’s Application.

    I.   MR. STEINMETZ SATISFIES THE THREE STATUTORY REQUIREMENTS OF 28
         U.S.C. § 1782

         Mr. Steinmetz’s Application should be granted because it satisfies each of the three

statutory requirements of 28 U.S.C. § 1782.

             A. The Discovery Targets are Found in the Southern District of New York

                     1. Vale S.A. and Vale Americas Inc.

         In relation to Vale S.A., this Court has already explicitly held that “Vale has significant contacts

with New York such that Vale resides or is found in New York for purposes of Section 1782.” In re Ex

Parte Application of Kleimar N.V., 220 F. Supp. 3d 517, 521 (S.D.N.Y. 2016). Indeed, as this Court in

Kleimar found: (i) Vale S.A. trades American Depository Receipts (“ADRs”) on the New York Stock

Exchange (“NYSE”); (ii) Vale S.A. has significant ties to Vale Americas Inc., which is directly or

indirectly wholly-owned by Vale S.A.; (iii) Vale Americas Inc. is currently registered to do business in

New York; (iv) Vale Americas Inc. did not contest jurisdiction as a defendant in a recent action in this

District; (v) Vale S.A. has designated Vale Americas Inc. as its agent for service in filings with the SEC;

and (vi) Vale S.A., through Vale Americas Inc., conducts systematic and regular business in the United

States and New York. The Court found the foregoing sufficient to establish that “Vale has significant

contacts with New York such that Vale resides or is found in New York for the purposes of Section 1782.”

Id. at 521. Vale S.A.’s contacts that this Court found relevant in Kleimar continue to exist today.6 Based


6
  Thus: (i) Vale S.A. continues to trade on the NYSE. See Klazen Decl. at ¶ 15. (ii) Vale S.A.
recently submitted a Form S-8 with the SEC on February 21, 2020 in which Vale Americas is


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on the same analysis, Vale Americas likewise has sufficient contacts with this District to be

considered “found” here for purposes of Section 1782.

        In addition to the relevant contacts already raised in Kleimar, Vale S.A. also has numerous

contacts with this District that are specifically related to the dispute over the mining rights and JV

Agreement, in relation to which Mr. Steinmetz is seeking discovery through this Application.

Those additional contacts not only bolster this Court’s conclusion in Kleimar, but they also

demonstrate that Vale is subject to specific personal jurisdiction in New York insofar as that is

necessary for it to be found in this District. See In re del Valle Ruiz, 939 F.3d 520, 528 (2d Cir. 2019)

(reaffirming the “flexible reading of the phrase ‘resides or is found’” in Section 1782 and holding that this

“language extends to the limits of personal jurisdiction consistent with due process.”) (internal citations

omitted). In del Valle Ruiz, the Second Circuit articulated how the framework for analyzing specific

personal jurisdiction would apply in the context of a discovery application under Section 1782:

                In the liability context, “[t]he exercise of specific jurisdiction depends on
                in-state activity that gave rise to the episode-in-suit.” Waldman v.
                Palestine Liberation Org., 835 F.3d 317, 331 (2d Cir. 2016) (internal
                quotation marks omitted); see also Bristol-Myers Squibb, 137 S. Ct. at
                1781 (holding that unrelated contacts cannot diminish the required
                showing of an affiliation between the forum and the underlying
                controversy). Translated to account for a § 1782 respondent’s nonparty
                status, we thus hold that, where the discovery material sought
                proximately resulted from the respondent’s forum contacts, that would be


listed as the “agent for service” and “Authorized Representative of Vale S.A. in the United States.”
Klazen Decl., Ex. 11 (Vale S.A.’s Form S-8), at 2, 8. (iii) Upon information and belief, Vale
Americas continues to be a directly or indirectly wholly-owned by Vale S.A. See Klazen Decl.,
Ex. 15 (Vale Americas Inc.’s Rule 7.1 Corporate Disclosure Statement). (iv) Vale Americas is
currently registered to do business in New York. See Klazen Decl., Ex. 13 (New York Department
of State Entity Information for Vale Americas). (v) Vale did not contest jurisdiction as a defendant
in the case of Watchtower Bible and Tract Society of New York v. The Int’l Nickel Co., et al., 7:15-
CV-04306 (S.D.N.Y.). (vi) Vale Americas continues to be an importer in North and South
America for Vale’s nickel product. See Klazen Decl., Ex. 16 (Safety Data Sheet), at 3. In addition,
Vale has at least one other subsidiary that is registered to do business in New York (and is also
incorporated there): Vale Limited. See Klazen Decl., Ex. 10 (Vale S.A.’s Form 20-F, Exhibit 8),
at 4; Klazen Decl., Ex. 14 (New York Department of State Entity Information for Vale Limited).
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                sufficient to establish specific jurisdiction for ordering discovery. That is,
                the respondent’s having purposefully availed itself of the forum must be
                the primary or proximate reason that the evidence sought is available at
                all. On the other hand, where the respondent’s contacts are broader and
                more significant, a petitioner need demonstrate only that the evidence
                sought would not be available but for the respondent’s forum contacts.

Id. at 530. In a footnote, the Court elaborated by explaining that, “[f]or instance, an applicant could target

its discovery to all documents relating to x created during the course of respondent’s engagement with

forum entity y.” Id. at 530 n.12.

        Here, Vale’s contacts with New York are very broad and significant, see supra, and the discovery

sought would not be available but for Vale’s forum contacts. For example, according to the complaint

filed (in this Court) in the Rio Tinto RICO Action by Rio Tinto plc against Vale, BSGR and others, Vale

attended numerous meetings in New York City in late 2008 and early 2009 to discuss a potential

acquisition of the Simandou mining rights from Rio Tinto. Specifically, Rio Tinto alleges that

representatives of Vale, together with its New York City-based lawyers at Clearly Gottlieb, attended

meetings at Cleary Gottlieb’s New York City office on November, 19, 2008, November 24, 2008, and

several more times between December 2008 and February 2009 to conduct negotiations and review

documents in Rio Tinto’s U.S.-based data room. Amended Compl. at ¶¶ 58–62, Rio Tinto PLC v.

Vale, S.A. et al., No. 1:14-CV-03042 (RMB) (S.D.N.Y. Aug. 15, 2014). According to Rio Tinto,

Vale learned at the November 24 meeting of both the extraordinary value of Rio Tinto’s concession over

the Simandou mines and Mr. Steinmetz’s and BSGR’s efforts to misappropriate it. Id. at ¶ 78. According

to Rio Tinto, Vale then began conspiring with BSGR and Mr. Steinmetz to steal the concession from Rio

Tinto, but at the subsequent meetings in New York City feigned continued interest in pursuing a deal with

Rio Tinto so that it could access confidential documents in the U.S. data room. Id. at ¶ 159.




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        While the Rio Tinto RICO Action was eventually dismissed as being time-barred,7 to Mr.

Steinmetz’s knowledge the occurrence of the meetings between Vale and Rio Tinto in New York City

has never been seriously contested. Apparently those meetings not only were instrumental in causing

Vale to become interested in the Simandou mining rights but, according to Rio Tinto, they also alerted

Vale to a supposed effort by Mr. Steinmetz to “steal” those rights (an allegation Mr. Steinmetz vigorously

denies). Because Mr. Steinmetz is seeking discovery about what Vale believed about BSGR’s acquisition

of the mining rights, without those meetings in New York City at least some of the relevant discovery

sought would not be available.

        Vale also, in connection with its being listed on the NYSE, filed reports with the SEC in

which it made certain disclosures about the JV Agreement with BSGR. See Klazen Decl., Ex. 12

(Vale S.A.’s Form 6-K), at 5. (“Vale S.A. (Vale) announces it has acquired from BSG Resources

Ltd. (BSGR), a 51% interest on BSG Resources (Guinea) Ltd., which indirectly holds iron ore

concession rights in Guinea, in Simandou South (Zogota), and iron ore exploration permits in

Simandou North and Blocks 1 & 2.”); see also Klazen Decl. at ¶ 14. Those reports did not,

however, disclose what Vale actually believed about BSGR and how it had obtained the mining

rights. In drafting those reports to the SEC filings, internal deliberations must have been conducted

and perhaps even written records made at Vale about what should and should not be publicly

disclosed. Vale may also have included Vale Americas in such deliberations, as Vale Americas is

Vale's authorized representative in the United States. Evidence of those internal deliberations,

which Mr. Steinmetz seeks in the present discovery application, would not have even existed if it




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  Notably, Vale moved to dismiss Rio Tinto’s complaint on several grounds, but lack of personal
jurisdiction was not one of them. See Mem. of Law in Supp. of Mot. to Dismiss, Rio Tinto PLC v.
Vale, S.A. et al., No. 1:14-CV-03042 (RMB) (S.D.N.Y. Feb. 06, 2015).
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were not for Vale’s having been required to file reports with the SEC as a condition of having its

ADRs traded on the NYSE.

        Thus, Vale is “found” in this district for purposes of the instant Section 1782 application

also under the specific personal jurisdiction analysis set forth in Valle Ruiz.

        Finally, it would be odd for Vale to argue that is not an appropriate respondent here when, at this

very moment, Vale itself has come into this District both to seek discovery through Section 1782 for use

in the UK Proceedings and to enforce its award in the LCIA Arbitration. 8 See e.g., Andros Compania

Maritima, S.A. v. Intertanker Ltd., 718 F. Supp. 1215, 1217 (S.D.N.Y. 1989) (“It is a fundamental

tenet of jurisdictional law that a party may waive a challenge to the Court’s in personam

jurisdiction, e.g., Fed. R. Civ. P. 12(h)(1), and appearing and seeking affirmative relief from the

Court is the paradigm of such a waiver.”) (citing Adam v. Saenger, 303 U.S. 59, 67–68 (1938)).

Just as one party in a civil action opens itself up to a potential counterclaim or crossclaim if it arises out of

the transaction or occurrence that is the subject matter of the opposing party’s claim, see Fed. R. Civ. P.

13, so too should a party to a foreign proceeding who seeks discovery under Section 1782 expect that

another party to the same foreign proceeding will likewise avail itself of Section 1782 to seek discovery

from it. See, e.g., Gary Friedrich Enterprises, LLC v. Marvel Enterprises, Inc., No. 08-CIV-1533-

BSJ-JCF, 2011 WL 13262163, at *2 (S.D.N.Y. May 4, 2011) (“A plaintiff may not object that the

court lacks personal jurisdiction or that venue is improper for purposes of adjudicating a

compulsory counterclaim that defendant has interposed.”).



8
 In its Section 1782 application, Vale is seeking to support its proprietary claim in the UK Proceedings
by seeking discovery from various New York-based real estate companies that Vale believes will show
where the money that Vale paid to BSGR when it entered the JV Agreement has ended up. See Ex Parte
Appl., In re Application of Vale International S.A. et al, No. 1:20-MC-00199 (JGK) (S.D.N.Y.
Apr. 24, 2020). Vale also is enforcing its award from the LCIA Arbitration against BSGR in this
District. See Pet. to Recognize and Enforce Arbitration Award, Vale S.A. v. BSG Resources
Limited, No. 1:19-CV-03619 (VSB) (S.D.N.Y. Apr. 23, 2019).
                                                       19
                     2. Rio Tinto plc and Rio Tinto Limited

        Much like Vale S.A., Rio Tinto has significant and continuing contacts with the United States and

New York such that Rio Tinto also resides or is found in New York for the purposes of Section 1782. For

instance, (i) Rio Tinto plc trades ADRs on the NYSE, see Klazen Decl. at ¶ 23; (ii) Rio Tinto plc has

significant ties to Rio Tinto Services Inc., Rio Tinto America Holdings Inc., and Rio Tinto America Inc.,

all of which are indirect wholly-owned subsidiaries of Rio Tinto plc and are registered to do business in

New York, see id.; Klazen Decl., Ex. 17 (Rio Tinto plc and Rio Tinto Limited’s Form 20-F, Exhibit 8.1),

at 4; Ex. 18 (Rio Tinto plc’s Form S-8), at 2; Ex. 19; Ex. 20; Ex. 21; Ex. 22 (Rio Tinto Minerals Inc. and

Rio Tinto Services Inc.’s Rule 7.1 Corporate Disclosure Statement), at 3; Ex. 23 (Rio Tinto America Inc.’s

Rule 7.1 Corporate Disclosure Statement), at 2; (iii) Rio Tinto plc did not contest jurisdiction as a

defendant in a recent securities action filed in this District, see, e.g., Mem. of Law in Support of Mot. to

Dismiss, Jeffrey P. Weiner Supplemental Trust v. Rio Tinto PLC et al, No. 1:16-CV-09572 (ALC)

(S.D.N.Y. Sept. 11, 2017); Mem. of Law in Support of Mot. to Dismiss, Colbert v. Rio Tinto PLC et al,

No. 1:17-CV-08169 (AT) (S.D.N.Y. Sept. 7, 2018); (iv) Rio Tinto plc has designated Cheree Finan, an

employee of Rio Tinto Services Inc. as its “authorized representative” in the United States (Klazen Decl.,

Ex. 18 (Rio Tinto plc’s Form S-8), at 2); and (v) Rio Tinto plc conducts systematic and regular business

in the United States, including operating at least two mining facilities (one of which has been operating

since 1903), see Rio Tinto US Operations, Rio Tinto, https://www.riotinto.com/operations/us (last visited

May 21, 2020).

        Further, in the Rio Tinto RICO Action, Rio Tinto plc acknowledged that it “has a subsidiary . . .

which maintains an office at 28 West 44th Street, Level 16, New York, NY 10036. Rio Tinto plc also has

billions of dollars of assets in the United States, earns billions of dollars in annual revenue from operations

in the United States, and employs thousands of individuals in the United States.” Amended Compl. at ¶¶



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18, Rio Tinto PLC v. Vale, S.A. et al., No. 1:14-CV-03042 (RMB) (S.D.N.Y. Aug. 15, 2014).

Thus, under the analysis set forth in Kleimar, Rio Tinto plc is an appropriate discovery target here.

        The same is true under an analysis of specific personal jurisdiction. See Valle Ruiz, 939 F.3d at

530. As described above, Rio Tinto plc attended numerous meetings with Vale in New York City between

November 2008 and February 2009 to negotiate a sale of the mining rights to Vale. Among the discovery

that Mr. Steinmetz seeks from Rio Tinto plc is information it had and shared with Vale about BSGR and

Mr. Steinmetz and which may help prove that Vale, contrary to what it has always maintained, did not

believe that Mr. Steinmetz would have acquired the mining rights properly. That discovery may include

records of information shared orally, written documents shared with Vale through Rio Tinto’s U.S.-based

data room, or other forms of discovery. Further, as discussed above, Rio Tinto plc brought an action in

this District claiming that Vale and BSGR conspired to steal the mining rights from Rio Tinto. In

advance of and during the litigation, Rio Tinto plc undoubtedly had internal discussions and likely

prepared written records about what the events surrounding the acquisition of the mining rights by

BSGR and what Rio Tinto told Vale about BSGR and Mr. Steinmetz. Those types of discovery,

which Mr. Steinmetz seeks in this application, would not be available but for those meetings in

New York City and Rio Tinto’s litigation before this Court. Accordingly, Rio Tinto plc is a proper

discovery target in this District.

        Likewise, Rio Tinto Limited, by virtue of Rio Tinto plc’s contacts with New York, is also

found in New York. Rio Tinto plc and Rio Tinto Limited operate under a dual listed companies

structure. This means that both entities are managed together, by the same board of directors and

in which shareholders have a common economic interest. As explained on Rio Tinto’s website,

Rio Tinto’s structure is “designed to place the shareholders of Rio Tinto plc and Rio Tinto Limited

in substantially the same position as if they held shares in a single entity owning all of the assets



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of   both    companies.”         See   Dual     Listed    Companies      Structure,   RIO    TINTO,

https://www.riotinto.com/en/invest/shareholder-information/dual-listed-companies-structure (last

visited May 21, 2020). Indeed, in its SEC filings, Rio Tinto informs shareholders of both Rio

Tinto plc and Rio Tinto Limited, and shares of both companies are held in part by U.S.-addressed

persons. Thus, Rio Tinto Limited is a proper discovery target here as well.

            B. The Evidence Requested is “For Use” in a Foreign Proceeding

       The “for use” condition requires that the requested discovery has some relevance to the

foreign proceeding. See In re Application of Sveaas, 249 F.R.D. 96, 106-07 (S.D.N.Y. 2008).

Relevance “is broadly construed ‘to encompass any matter that bears on, or that reasonably

could lead to other matter that could bear on, any issue that is or may be in the case.’” Id.

District Courts should not attempt to determine whether the evidence would actually, or even

probably, be discoverable or admissible in the foreign proceeding. Brandi-Dohrn, 673 F.3d at

82 (noting unanimity among the Circuits who have ruled on the issue). Where relevance is in

doubt, a court applying Section 1782 should be “broadly permissive” of discovery. Sveaas,

249 F.R.D. at 107.

       Here, the requested discovery is relevant to the UK Proceedings, wherein Vale asserts that

BSGR and the defendants made fraudulent misrepresentations to Vale to fraudulently induce Vale

into entering the JV Agreement. The evidence sought is specifically relevant to and in support of

the Mr. Steinmetz’s defenses raised in the UK Proceedings, which deny Vale’s allegations entirely,

claim that Vale did not rely on any of BSGR’s assertions, which it did not believe, and went

forward with the deal as a “business decision” despite the red flags and in spite of advice, and that

Vale opted into a deal that it believed was based on corruption and bribery.




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              C. As a Defendant in the Foreign Proceedings, Mr. Steinmetz is an “Interested
                 Person” under Section 1782

       As a Defendant in the UK Proceedings, Mr. Steinmetz is an “interested person” under

Section 1782. See Intel, 542 U.S. at 256, 258 (“No doubt litigants are included among, and may

be the most common example of, the ‘interested person[s]’ who may invoke § 1782”); Application

of Esses, 101 F.3d 873, 875 (2d Cir. 1996) (a party to the underlying foreign proceedings “is an

‘interested person’ within the meaning of the statute”); In re Application for an Order Permitting

Metallgesellschaft AG to take Discovery, 121 F.3d 77, 79 (2d Cir. 1997) (as a party to the foreign

proceeding, the applicant qualifies as an interested person).

 II.   THE INTEL DISCRETIONARY FACTORS STRONGLY FAVOR GRANTING MR.
       STEINMETZ’S APPLICATION

   As a matter of discretion, under the Supreme Court’s decision in Intel, discovery should also

be granted.

              A. Vale’s Document Destruction Policy and the Urgent Nature of the Foreign
                 Proceedings Necessitate Obtaining Discovery Now, and Vale Americas, Rio
                 Tinto plc, and Rio Tinto Limited are not Participants in the UK Proceedings

       One of the four discretionary factors is whether the person from whom discovery is sought

is a party to the foreign proceeding. Here, it is undisputed that one of the targets from whom

discovery is sought (Vale, S.A.) is a claimant in the UK Proceedings. That does not, however,

mean that discovery under Section 1782 is inappropriate. See, e.g., Intel, 542 U.S. at 264, 266

(noting that Intel was a party to the foreign proceeding but not finding that discovery was

foreclosed); In re Servicio Pan Americano de Proteccion, 354 F. Supp. 2d 269, 274 (S.D.N.Y.

2004) (granting discovery directed to a party to the foreign proceedings).

       In Intel, the Supreme Court explained that where the person from whom discovery is sought

is a participant in the foreign proceeding, “the need for §1782(a) aid generally is not as apparent”

because the “foreign tribunal has jurisdiction over those appearing before it, and can itself order

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them to produce evidence.” Intel, 542 U.S. at 244. However, Mr. Steinmetz likely would not be

able to obtain in the UK Proceeding all the discovery he seeks here, for two reasons: First, Vale

revealed in the LCIA Arbitration that it adheres to a document destruction policy through which

relevant documents have already been destroyed despite knowledge of (or rather because of)

impending investigations/litigation. Klazen Decl., Ex. 7 (Defence of the First Defendant) (“When

Vale was asked to disclose specific classes of internal emails in the LCIA proceedings, Vale

responded that it had destroyed the emails of several centrally relevant custodians involved in the

due diligence process in potential breach of its FCPA duties.”). Because the discovery phase in

the UK Proceeding will not commence until at least five months from now (or perhaps longer in

the future), Mr. Steinmetz is concerned that if he cannot secure the relevant documents from Vale

through the instant proceeding, critical evidence that support his defenses would be destroyed by

the time the London court might order their disclosure in the UK Proceedings.

       Second, in light of recently uncovered facts that undermine Vale’s positions in the UK

Proceedings, it is important to the administration of justice in the UK Proceedings that Mr.

Steinmetz be able to take discovery. As part of the UK Proceedings, Vale sought and obtained the

freezing of Mr. Steinmetz’s assets based on, as evidence shows, false assertions. That freeze

continues to cause Mr. Steinmetz substantial harm. Seeking discovery relief in this court, as

opposed to waiting until the UK Proceedings advance to a discovery stage, is therefore critical,

given that the evidence sought could allow the English courts to re-evaluate provisional relief it

has granted based on Vale’s assertions.

       Accordingly, the first Intel factor weighs in favor of Mr. Steinmetz’s request for discovery

from Vale. See, e.g., In re Application of Chevron Corp., 709 F. Supp. 2d 283 (S.D.N.Y. 2010)

(holding that given the urgent nature of the foreign proceedings for which discovery was sought,



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discovery assistance may well be needed); In re Servicio Pan Americano de Proteccion, C.A., 354

F. Supp. 2d 269, 274 (S.D.N.Y. 2004) (finding the first Intel factor weighed in favor of discovery

against a party to the foreign proceeding where “the apparent limitations of [the foreign court’s]

discovery rules suggest that the exercise of jurisdiction by this Court may be necessary to provide

[the party] with the documents it seeks”); Matter of Lufthansa Technick AG, No. C17-1453-JCC,

2019 WL 331839, at *1 (W.D. Wash. Jan. 25, 2019) (reasoning that although the discovery target

was also a participant in the pending foreign proceedings, “the discovery procedures available [to

the applicant] in the pending proceedings [were] insufficient to procure the requested discovery”

and “[t]herefore, the first Intel factor weighs in [the applicant’s] favor”).

       In any event, whether the discovery target is a party to the foreign proceeding is but one of

four discretionary factors under Section 1782 and an applicant is not required to satisfy every

discretionary factor for discovery to be appropriate. See In re Application of Gemeinshcaftspraxis

Dr. Med. Schottdorf, No. CIV.M19-88 BSJ, 2006 WL 3844464, at *7 (S.D.N.Y. Dec. 29, 2006)

(granting an application under Section 1782 where three out of four discretionary factors weighed

in the applicant’s favor and the fourth factor was “at most a neutral consideration”); see also

Gorsoan Ltd. v. Bullock, 652 F. App’x 7, 9 (2d Cir. 2016) (“[P]articipation in the foreign

proceedings does not automatically foreclose § 1782 aid.”).

       As for Rio Tinto plc, Rio Tinto Limited, and Vale Americas, they are not parties to the UK

Proceedings. The first Intel factor therefore weighs in favor of granting discovery requests aimed

at Rio Tinto and Vale Americas. See Intel, 542 U.S. at 264; Sveaas, 249 F.R.D. at 107 (“status as

a non-party in the foreign actions weighs in favor of granting [Applicant’s] application.”). 9



9
 Even if the Discovery Targets were amenable to subjecting themselves to discovery in the UK,
Mr. Steinmetz need not first seek discovery in the foreign tribunal. As the Second Circuit has


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           B. The UK Courts Would be Receptive to the Requested Discovery, and the
              Character of the UK Proceedings Favors Granting the Application

       The UK Court would be receptive to the requested discovery. In examining the second

Intel factor, “a district court’s inquiry into the discoverability of requested materials should

consider only authoritative proof that a foreign tribunal would reject evidence obtained with the

aid of section 1782.” Euromepa, 51 F.3d at 1100 (emphasis added). Authoritative proof is limited

to proof “embodied in a forum country’s judicial, executive or legislative declarations that

specifically address the use of evidence gathered under foreign procedures[.]” Id.

       Here, the UK Courts have not issued any such statement or order. Additionally, there is

no indication, let alone authoritative proof, that the UK Courts would reject any of the documents

or information gathered pursuant to the Application. Indeed, U.S. courts routinely grant Section

1782 applications seeking discovery for use in UK courts. See, e.g., In re Application of Guy, No.

M 19-96, 2004 WL 1857580, at *2 (S.D.N.Y. Aug. 19, 2004) (“Here, the English Action is

pending in the High Court of Justice, Chancery Division, a trial court which . . . hears the testimony

of witnesses and receives documents in evidence, very much as American courts do. And the

nature of the English Action suggests that discovery is appropriate to obtain relevant testimony

and documents.”). Indeed, as mentioned supra, Vale itself is currently seeking discovery under

Section 1782 for use in the UK Proceedings.




explained, there is no “‘quasi-exhaustion requirement’ . . . that would force litigants to seek
information through the foreign or international tribunal before requesting discovery from the
district court.” Euromepa S.A. v. R. Esmerian, Inc., 51 F.3d 1095, 1098 (2d Cir. 1995) (internal
quotations omitted); Application of Malev Hungarian Airlines, 964 F.2d 97, 100 (2d Cir. 1992)
(“We find nothing in the text of 28 U.S.C. § 1782 which would support a quasi-exhaustion
requirement”).

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           C. Mr. Steinmetz Is Not Circumventing Any UK Proof-Gathering Restrictions

       Mr. Steinmetz seeks this discovery in good faith and is not attempting to circumvent the

foreign tribunal’s proof gathering restrictions. The UK Courts have issued no orders limiting

Steinmetz from seeking discovery from third parties.

        Notably, the discovery sought by Mr. Steinmetz will be relevant to the UK Proceedings

even if defendants Balda and Nysco prevail on their pending motion for summary judgment on

Vale’s proprietary (tracing) claim. In the UK, discovery follows a motion for summary judgment.

In any case, upon dismissal of the proprietary claim – through which Vale seeks to recover the

specific funds that Vale paid to BSGR under the JV Agreement – Vale’s other claims, and Mr.

Steinmetz’s defenses, would continue to be litigated. Accordingly, this factor also weighs in favor

of granting the Application.

           D. Mr. Steinmetz’s Discovery Requests Are Appropriately Tailored and Are Not
              Unduly Intrusive or Burdensome

       Mr. Steinmetz’s proposed subpoenas are appropriately tailored and not “unduly intrusive

or burdensome.” Intel, 542 U.S. at 265. Mr. Steinmetz has propounded targeted document requests,

which seeks a discrete universe of documents relating to the mining rights, the Applicant, BSGR, Vale,

BSGR and Vale’s joint venture, Simandou, and any alleged wrongdoings on behalf of either Vale, the

Applicant, or BSGR. Mr. Steinmetz has also limited the requested deposition testimony to the same

topic. Thus, the potential burden and expense of compliance would be minimal, certainly in light

of the importance of the request information to Mr. Steinmetz’s defenses in the UK Proceedings.

See In re Application of Hornbeam Corp., No. 1:14-MC-00424 (P1), 2014 WL 8775453, at *5

(S.D.N.Y. Dec. 24, 2014) (granting Section 1782 application where discovery sought is specific and

discrete and thus not unduly intrusive or burdensome).




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         Furthermore, on information and belief, at least some of the relevant discovery materials

already has been gathered by Vale and Rio Tinto in the course of the Rio Tinto RICO Action,

where preliminary discovery was conducted before the case was dismissed. Indeed, in that case

the court in 2015 directed both Vale and Rio Tinto to undertake discovery regarding evidence of

potential BSGR bribery and corruption. See Tr. of Conference Held on August 19, 2015 at 9:6–

12, Rio Tinto PLC v. Vale, S.A. et al., No. 1:14-CV-03042 (RMB) (S.D.N.Y, Sept. 30, 2015). Prior

efforts to collect such evidence would further reduce any burden on Vale S.A. and Rio Tinto to

respond to Mr. Steinmetz’s discovery requests.

                                         CONCLUSION

         Based on the foregoing, Mr. Steinmetz respectfully petitions the Court to enter the

proposed Order attached to the Declaration of Josef M. Klazen as Exhibit 1, authorizing issuance

of the subpoenas attached to the Declaration of Josef M. Klazen as Exhibits 2-5 and directing the

Discovery Targets to respond to the subpoenas in accordance with such Order.

Dated:          New York, New York
                May 21, 2020
                                                            Respectfully submitted,

                                                            /s/ Michael S. Kim

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